AO 440 (Rev. 12/09) Summons in a Civil Action


                                                UNITED STATES DISTRICT COURT
                                                                                                for the
                                                                           District
                                                                   __________       of of
                                                                              District Alaska
                                                                                          __________
SalmonState, Alaska Center, Alaska Community Action on Toxics, Alaska Wilderness League,
Cook InletKeeper, Defenders of Wildlife, Earthworks, Friends of McNeil River, McNeil River
Alliance, National Parks Conservation Association, National Wildlife Federation, Natural
Resources Defense Council, Sierra Club, and WIld Salmon Center,                                   )
                                                                                                  )
                                     Plaintiff
                                                                                                  )
                                         v.                                                       )       Civil Action No. 3:19-cv-00267-SLG
Chris Hladick, in his official capacity as Regional Administration of the U.S. Environmental
Protection Agency, Region 10; Matthew Z. Leopold, in his official capacity as General Counsel     )
for EPA and under his delegated authority of the Administration; and U.S. Environmental
Protection Agency.
                                                                                                  )
                                    Defendant
                                                                                                  )


                                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Chris Hladick
                                                   Regional Administrator
                                                   U.S. EPA, Region 10
                                                   1200 Sixth Avenue, Suite 155
                                                   Seattle, WA 98101



            A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
  Brian Litmans                                   Jacqueline M. Iwata                                 Joel R. Reynolds            Thomas S. Waldo
  Katherine Strong                                Natural Resources Defense                           Natural Resources Defense   Erin Whalen
  Trustees for Alaska                             Council                                             Council                     Earthjustice
  1026 W 4th Ave., Ste. 201                       1152 15th St. NW, Ste. 300                          1314 2nd Street             325 Fourth Street
  Anchorage, AK 99501                             Washington, DC 20005                                Santa Monica, CA 90401      Juneau, AK 99801

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                                             CLERK OF COURT


Date:
                                                                                                                       Signature of Clerk or Deputy Clerk




                            Case
                            Case3:19-cv-00265-SLG
                                 3:19-cv-00267-SLG Document
                                                   Document30
                                                            4 Filed
                                                              Filed10/09/19
                                                                    11/26/19 Page
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 Civil Action No. 3:19-cv-00267-SLG

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)    Chris Hladick, EPA Regional Administrator
 was received by me on (date)                    10/09/2019           .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                          ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                               , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                     , who is
           designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                          ; or

           ’ I returned the summons unexecuted because                                                                             ; or

           ’ Other (specify): I served the summons and complaint on Chris Hladick, EPA Regional Administrator for
                                   Region 10, on October 9, 2019, by certified mail, return receipt requested, and by serving
                                   the United States.                                                                                     .


           My fees are $                           for travel and $                 for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:          11/26/2019                                                                 s/ K.Strong
                                                                                         Server’s signature


                                                                            Katherine Strong, Senior Staff Attorney
                                                                                       Printed name and title

                                                                      Trustees for Alaska, 1026 West 4th Ave, Suite 201,
                                                                                     Anchorage, AK 99501

                                                                                          Server’s address

 Additional information regarding attempted service, etc:




           Print        Case
                        Case3:19-cv-00265-SLG
                             3:19-cv-00267-SLG
                                 Save As...    Document
                                               Document30
                                                        4 Filed
                                                          Filed10/09/19
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                                                                               of26 Reset
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11/25/2019                                                 USPS.com® - USPS Tracking® Results




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                                               Track Another Package                 +




                                                                                                                       Remove   
   Tracking Number: 70162710000068617510

   Your item was delivered to the front desk, reception area, or mail room at 2:49 pm on October 15,
   2019 in SEATTLE, WA 98101.




     Delivered




                                                                                                                                Feedback
   October 15, 2019 at 2:49 pm
   Delivered, Front Desk/Reception/Mail Room
   SEATTLE, WA 98101




                                                                                                                          
       Tracking History


       October 15, 2019, 2:49 pm
       Delivered, Front Desk/Reception/Mail Room
       SEATTLE, WA 98101
       Your item was delivered to the front desk, reception area, or mail room at 2:49 pm on October 15, 2019 in
       SEATTLE, WA 98101.



       October 15, 2019, 8:21 am
       Out for Delivery
       SEATTLE, WA 98101



       October 15, 2019, 2:58 am
       Arrived at Unit
       SEATTLE, WA 98101



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https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=5&text28777=&tLabels=70162710000068617510%2C%2C%2C%2C                  1/3
11/25/2019                                                 USPS.com® - USPS Tracking® Results

       October 14, 2019, 4:00 am
       Departed USPS Regional Facility
       SEATTLE WA NETWORK DISTRIBUTION CENTER



       October 14, 2019, 2:22 am
       Arrived at USPS Regional Facility
       SEATTLE WA NETWORK DISTRIBUTION CENTER



       October 13, 2019, 3:35 am
       Departed USPS Regional Facility
       SACRAMENTO CA DISTRIBUTION CENTER



       October 12, 2019, 9:57 pm
       Arrived at USPS Regional Facility
       SACRAMENTO CA DISTRIBUTION CENTER



       October 12, 2019, 11:19 am
       Arrived at USPS Regional Facility




                                                                                                                           Feedback
       FRESNO CA DISTRIBUTION CENTER



       October 11, 2019
       In Transit to Next Facility



       October 9, 2019, 3:21 pm
       Departed Post Office
       ANCHORAGE, AK 99517



       October 9, 2019, 1:31 pm
       USPS in possession of item
       ANCHORAGE, AK 99517




                                                                                                                       
       Product Information



        Postal         Features:           See tracking for related item: 9590940242108121753325
        Product:       Certified Mail™     (/go/TrackConfirmAction?tLabels=9590940242108121753325)
        First-
        Class
                ®         Case 3:19-cv-00265-SLG Document 30 Filed 11/26/19 Page 5 of 6
https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=5&text28777=&tLabels=70162710000068617510%2C%2C%2C%2C             2/3
11/25/2019                                                 USPS.com® - USPS Tracking® Results

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                        Go to our FAQs section to find answers to your tracking questions.


                                                                FAQs




                                                                                                                       Feedback




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